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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                        )
                                           )
                                           )               CIVIL ACTION NO.
                                           )
              Plaintiff;                   )              15-CV-6119 (AJN)(JLC)
                                           )
       v.                                  )
                                           )
                                           )           PLAINTIFF’S SECOND SET OF
Dennis Mehiel, an individual Robert        )               INTERROGATORIES
Serpico, an individual, The Battery        )                      FOR
Park City Authority, a New York State      )
authority, Howard Milstein, an             )       THE BATTERY PARK CITY AUTHORITY
individual, Steven Rossi, an individual,   )
                                           )
Janet Martin, an individual, Milford       )
Management, a New York corporation,        )
and Mariners Cove Site B Associates, a     )
New York corporation.                      )
                                           )
                                           )
              Defendants.
                                           )




                                                         Steven Greer, pro se
                                                         4674 Tatersall Court
                                                         Columbus, Ohio 43230
                                                         (212) 945-7252
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   PLAINTIFF’S FIRST SET OF INTERROGATORIES FOR ROBERT SERPICO


       Plaintiff Steven Greer (“Plaintiff”), in accordance with Rules 26 and 33 of the Federal Rules

of Civil Procedure (“FRCP”) and Local Civil Rule 33.3 for the Southern District of New York,

hereby request that Defendant The Battery Park City Authority (“BPCA” and “Defendant”) provide

answers to the following Interrogatories in writing, under oath, to be served by January 16, 2016

upon the offices of the Plaintiff via email and by regular mail at 4674 Tatersall Court, Columbus,

Ohio 43230.


                               DEFINITIONS AND INSTRUCTIONS
       The definitions set forth in Local Civil Rule 26.3 for the Southern and Eastern Districts of

New York, together with the other definitions set forth below, shall be applicable unless specifically

indicated:

       1)      The term "communication" means the transmittal of information (in the form of

               facts, ideas, inquiries or otherwise). A request for "communications" encompasses

               any document(s) attached to, appended to, or enclosed with any responsive

               transmittal.

       2)      The terms "plaintiff' and "defendant" as well as a party's full or abbreviated name

               or a pronoun referring to a party mean the party and, where applicable, its

               officers, elected officials, directors, employees, partners, corporate parent,

               subsidiaries or affiliates. This definition is not intended to impose a discovery

               obligation on any person who is not a party to the litigation.

       3)      The term "concerning" means relating to, referring to, describing, evidencing or

               constituting.




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 4)     The terms "all," "any, and "each" shall each be construed as encompassing any

        and all.

 5)     The connectives "and" and "or" shall be construed either disjunctively or

        conjunctively as necessary to bring within the scope of the discovery request all

        responses that might otherwise be construed to be outside of its scope.

 6)     The use of the singular form of any word includes the plural and vice versa.



 The following instructions are applicable to these Interrogatories:



 1)     Any legal entity referenced herein shall be construed as encompassing, where

        applicable, the officers, elected officials, directors, managers, employees,

        partners, corporate parent, subsidiaries or affiliates of that entity.

 2)     To the maximum extent permitted by FRCP 26(e), these Interrogatories are to be

        deemed continuing so as to require further and supplemental production promptly

        if additional information called for herein is discovered or obtained, or if

        Defendant learns that any response to these Interrogatories is inaccurate or

        incomplete.

 3)     The present tense shall be construed to include the past tense, and the past tense

        shall be construed to include the present tense.

 4)     Except where as noted, the period of time covered by each specification is to date.




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                                    INTERROGATORIES



Interrogatory No. 1

At some point during January or February of the year 2014, did any BPCA employee, (notably

Kevin McCabe, Robert Serpico, Shari Hyman, Robin Forst, Seema Singh, Alix Pustilnik, and

Dennis Mehiel, among others) learn in advance of Plaintiff even knowing that Mariners Cove

Site B Associates and Milford Management were not going to renew Plaintiff’s lease for his

apartment? Local rule 33.3 allows for this to be asked since it seeks to identify witnesses.

Interrogatory No. 2

Did any news story posted on BatteryPark.TV that mentioned the BPCA cause any BPCA

employees to convene a meeting or send emails? Local rule 33.3 allows for this to be asked since

it seeks to identify witnesses.

Interrogatory No. 3

What is the name of the in-house BPCA staff, or current company or companies to which the

BPCA has awarded contracts, or hired without contract, for managing the computer servers and

databases of the BPCA? Local rule 33.3 allows for this to be asked since it seeks to identify

witnesses.

Interrogatory No. 4

Has any BPCA employee been instructed since the year 2012 to delete archived email of any sort

and/or email that relates to Plaintiff by name or BatteryPark.TV by name? Local rule 33.3 allows

for this to be asked since it seeks to identify witnesses.

Interrogatory No. 5

Has any BPCA employee been instructed to think of and design a plan to specifically not allow




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Plaintiff into public board meetings? Local rule 33.3 allows for this to be asked since it seeks to

identify witnesses.

Interrogatory No. 6

Does any board member or employee of the BPCA have routine meetings with managers of the

building at 200 Rector Place. Local rule 33.3 allows for this to be asked since it seeks to identify

witnesses.

Interrogatory No. 7

The addresses, email contacts, and phone contact information for the following BPCA current or

former staff: Dennis Mehiel, Shari Hyman, Robert Serpico, Kevin McCabe, Alix Pustilnik,

Seema Singh, Robin Forst, Brenda McIntyre, Tessa Huxley, Vince McGowan, Anne Fenton,

Matthew Monahan, Kirk Swanson, Demetrios Boutris, Andrew Rafalaf, The wife of Deshay

Crabb, Deshay Crabb, Elizabeth Papanicolaou, Nancy Harvey, and Allison Ford. Local rule 33.3

allows for this to be asked since it seeks to identify witnesses.



February 17th, 2017                                                 Steven Greer




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